            Case 1:17-cr-00075-LJO-SKO Document 78 Filed 12/04/18 Page 1 of 2


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 5

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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 17-CR-00075 LJO
11
                                  Plaintiff,              STIPULATION REGARDING CONTINUANCE OF
12                                                        SENTENCING HEARING; FINDINGS AND
                            v.                            ORDER
13
     KENNY RAY RANDALL,                                   DATE: January 14, 2019
14                                                        TIME: 8:30 a.m.
                                  Defendant.              COURT: Hon. Lawrence J. O'Neill
15

16
                                                 STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
18
     through defendant’s counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter is currently set for sentencing on January 14, 2019.
20
            2.      The government was notified that the discovery provided to the United States Probation
21
     Officer is incomplete. Counsel have agreed that the sentencing should be continued, and that the
22
     Presentence Referral Schedule be amended, to allow the government time to supplement the discovery
23
     provided to the United States Probation Officer and allow sufficient time for the USPO to revise the
24
     draft Presentence Investigation Report. The parties have conferred and are available for sentencing on
25
     March 4, 2018. However, the USPO is out of the office and has not confirmed availability on March 4.
26
            3.      The parties request that the Court order the following:
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                    a)     The sentencing hearing currently scheduled for January 14, 2019 should be
28
            rescheduled for March 4, 2019 at 9:30 a.m.;

      STIPULATION TO CONTINUE SENTENCING                  1
            Case 1:17-cr-00075-LJO-SKO Document 78 Filed 12/04/18 Page 2 of 2


 1                  b)     The Presentence Referral Schedule should be amended as follows:

 2                         (1) The amended Presentence Report should be made available to Defense

 3                             Counsel and the AUSA on January 21, 2019;

 4                         (2) Informal objections are due to Probation and Opposing counsel on February 4

 5                             2019; and

 6                         (3) Objections must be filed with the Court and served on Probation and

 7                             Opposing Counsel on February 18, 2019.

 8          IT IS SO STIPULATED.

 9                                                      Respectfully submitted,

10 Dated: December 4, 2018                                 MCGREGOR W. SCOTT
                                                           United States Attorney
11

12                                                         /s/ MELANIE L. ALSWORTH
                                                           MELANIE L. ALSWORTH
13                                                         Assistant United States Attorney
14

15 Dated: December 4, 2018                                 /s/ ROBERT FORKNER
                                                           ROBERT FORKNER
16
                                                           Counsel for Defendant
17                                                         Kenny Ray Randall

18

19
                                             FINDINGS AND ORDER
20
            IT IS HEREBY ORDERED that the sentencing hearing be continued to March 4, 2019, and the
21
     deadlines for the PSR are as follows:
22
            Draft PSR provided to parties:       January 21, 2019
23
            Informal objection to Draft PSR:     February 4, 2019
24
            Formal objections to PSR:            February 18, 2019
25

26 IT IS SO ORDERED.

27      Dated:     December 4, 2018                        /s/ Lawrence J. O’Neill _____
28                                               UNITED STATES CHIEF DISTRICT JUDGE


      STIPULATION TO CONTINUE SENTENCING               2
